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 Fl   .:\~
 ~µ~TED STATES DISTRICT COURT
      ~·EASTERN             DISTRICT OF PENNSYLVANIA




                                                                                                         18               0067
               (In the space above enter the full name(s) of the plaintiff(s))


                                      - against -

                                                                                                COMPLAINT
                                                                                                     under the
                                                                                         Civil Rights Act, 42 U.S.C. § 1983
                                                                                                (Prisoner Complaint)


                                                                                             Jury Trial: Gives    D No
                                                                                                            (check one)




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       (In the space above enter the full name(s) of the defendant(s). Ifyou
       cannot fit the names of all of the defendants in the space provided,
       please write "see attached" in the space above and attach an
       additional sheet ofpaper with the full list of names. The names
       listed in the above caption must be identical to those contained in
       Part I. Addresses should not be included here.)


          I.          Parties in this complaint:

          A.          List your name, identification number, and the name and address of your current place of
                      confinement. Do the same for any additional plaintiffs named. Attach additional sheets of paper
                      as necessary.

          Plaintiff




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B.          List all defendants' names, positions, places of employment, and the address where each defendant
            may be served. Make sure that the defendant(s) listed below are identical to those contained in the
            above caption. Attach additional sheets of paper as necessary.

Defendant No. 1




                                          . v .
Defendant No. 2               NameJ{)NJ fif        (~O/a/.t ,;                                   Shield#- - - -
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                              Where Currently Employed-"'-"'--r+




Defendant No. 3               NameSltjPFw1c:-St>'\/~ -Depu±---l\A.h,rdt;µ                        Shield#_ __
                              Where Currently Employed       &~rDS C60/\Jft/ ~)/ti (
                              Addressf')ct/      QiU'1lt1JWE)ff!f!f)d4dLr:::E5oor1 Pli
                              i9S73                        i r >

Defendant No. 4




Defendant No. 5




II.         Statement of Claim:

State as briefly as possible the facts of your case. Describe how each of the defendants named in the
caption of this complaint is involved in this action, along with the dates and locations of all relevant events.
You may wish to include further details such as the names of other persons involved in the events giving
rise to your claims. Do not cite any cases or statutes. If you intend to allege a number of related claims,
number and set forth each claim in a separate paragraph. Attach additional sheets of paper as necessary.

A      th                                                                             &           c
            In w.~t institution did the events giving rise to your claim(s) occur? ~( K5"iij}\ft,rYit
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B._    . Where     i~ ~institution did the events giving rise to your claim(s) occur?        jt)    T}zr
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            .

C.          What date and approximate time did the events giving rise to your claim(s) occur?        7/:t S-; ) 7
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  What
happened
 to you?




 Who
  did
 what?




   Was
  anyone
   else
involved?




 Who else
 saw what
happened?




            III.      Injuries:




            IV.       Exhaustion of Administrative Remedies:

            The Prison Litigation Reform Act ("PLRA"), 42 U.S.C. § 1997e(a), requires that" [n]o action shall be
            brought with respect to prison conditions under section 1983 of this title, or any other Federal law, by a


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prisoner confined in any jail, prison, or other correctional facility until such administrative remedies as are
available are exhausted." Administrative remedies are also known as grievance procedures.

A.        Did your claim(s) arise while you were confined in a jail, prison, or other correctional facility?

          YesLNo _ _


                                                 . , r·
IfYES, name the jail, prison, or other correctional facility where you were confined at the time of the
events giving rise to your claim(s).
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B.        Does the jail, prison or other correctional facility where your claim(s) arose have a grievance
          procedure?

          Yes./ No            Do Not Know


C.        Does the grievance procedure at the jail, prison or other correctional facility where your claim(s)
          arose cover some or all of your claim(s)?

          Yes   J    No       Do Not Know

          IfYES, which claim(s)?    m·,I ! J;\l't\){1.!
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D.        Did you file a grievance in the jail, prison, or other correctional facility where your claim(s) arose?

          Yes   J    No

          IfNO, did you file a grievance about the events described in this complaint at any other jail,
          prison, or other correctional facility?                   ·

          Yes        No


E.        If you did file a grievance, about the events described in this complaint, where did you file the
          grievance?                                    ·
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          ~         What was the result, if any?        1
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       F.       If you did not file a grievance:


                 l.        If there are any reasons why you did not file a grievance, state them here: _ _ _ _ __



....



                 2.        If you did not file a grievance but informed any officials of your claim, state who you
                           informed, when and how, and their response, if any: _ _ _ _ _ _ _ _ _ _ _ __




       G.        Please set forth any additional information that is relevant to the exhaustion of your administrative




       Note:     You may attach as exhibits to this tomplaint any documents related to the exhaustion of your
                 administrative remedies.



       V.      · Relief:


       State what you want the Court to do for you (including the amount of monetary compensation, if any, that
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           VI.       Previous lawsuits:


           A.       Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
                    action?
    On
  these
  claims            Yes

           B.       If your answer to A is YES, describe each lawruit by answering questions 1 through 7 below. (If
                    there is more than one lawsuit, des~ribe the additional lawsuits on another sheet of paper, using
                    the same format. )

                    I.          Parties to the previous lawsuit:

                    Plaintiff
                                ~--------------------------------

                    Defendants
                                   --------------------------------
                    2.          Court (iffederal court, name the district; if state court, name the county) _ _ _ _ __

                    3.          Docket or Index number _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _~



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                4.           Name of Judge assigned to your c a s e - - - - - - - - - - - - - - - - - -

                5.           Approximate date of filing l a w s u i t - - - - - - - - - - - - - - - - - - -

               . 6.         · Is the case still pending?           Yes __ No __

                             IfNO, give the approximate date of d i s p o s i t i o n - - - - - - - - - - - - - - -

                7.           What was the result of the case? (For example: Was the case dismissed? Was there
                             judgment in your favor? Was the ease appealed?)-----------,..----




         c.       Have you filed other lawsuits in state or federal court?
 On
other             YesLNo __
claims

         D.       If your answer to C is YES, describe each lawsuit by answering questions 1 through 7 below. (If
                     there is more than one lawsuit, describe the additional lawsuits on another.piece of paper, using
                      the same format.)

                 1.           Parties to the previous lawsuit:


                                                                                            ~                 .
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                  2.          Court (if federal court, name 4e district; if state court, name the county)                                  m 1c) k~ D6rcr /)h} I.
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                  3.          Docket or Index number~/~6_,~~(~~'~r             -_.,._}~4~0~J.~··------------
                  4.          Name of Judge assigned to             yo~: case .--1.i m() rh uI           I\AlrA u'"'
                                                                                                               b
                                                                                                                            01::.-

                  5.          Approximate date of filing la~suit _L.~J..../~1         . ./_l_b~-------------
                     6.       Is the case still pending?           Ye~ __ No         /
                                                                              --;-
                              IfNO, give the approximate date of dispositio11: Jf\1111 ){';r\( '-)
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                     7.       What was the result of the case? (For example: Was the case dismissed? Was there
                              judgn1ent in your favor? Was the case appealed?) D1:'>1}'1/ )Sc=-d \{)(r J-WUT .
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         I declare under penalty o,f perjury that the foregoing is true :md correc.t.

         Signed this      .i_ day of    If\ i\J\   rr:' f\ !
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                                                                                               f}JrJ om (lJ!!Y1L/('/\
                                                                           Signature of Plaintiff

                                                                                Inmate Number ·)( )/ :)- if} b1


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                                                                                      v      . ,                      I     '.




         Note:    All plaintiffs named in the caption of the complaint I,llUSt date and sign the complaint and provide
                  their inmate numbers and addresses.



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         I declare under penalty ofperjmy that on this           day of   .Th Ni )pf\}        ·    .          , 20    i't\ , I am delivering
         this complaint to prison authorities to be mailed   ~o the Clerk's~ffice of&e United States District Court for the
         Eastern District of Pennsylvania.




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         now as to my medical needs, I must say they were not met in any
         type of way. Under the case law, Estelle v. Gamble 429, U. S.97
         the government has an obligation to provide medical care for
         those whom it is punishing by incarceration. An inmate must rely
        on prison authorities to treat his medical needs. If the autho-
        rities fail to do so, those needs will not be met.As i have also
        read in case law, an inadvertent failure to provide adequate
        medical care cannot be said to constitute an unnecessary and wan-
        ton infliction of pain or to be repugnant to the conscience of
        mankind .. Thus, a complaint that a physican has been negligent in
        diagnosing or treating a medical condition does not state a valid
        claim of medical mistreatment under U.S. Const. amend. v111.Med-
        ical malpractice does not become a constitutional violation mer-
        ely because the victim is a prisoner. In order to state a cogniz-
        able claim, a prisoner must allege acts of omissions sufficiently
        harmful to eviaence deliberate indifference to serious medical
        needs.It is only such indifference that can offend evolving stan-
        dards of decency in violation of U.S.Const. amend.v111.I have al-
        ready told you what took place and how many witnesses were pres-
        ent at the time of the attack on me Mr. Ellman.You also dont need
        to look no further then the medical records and you will see how
        long it took the jail to let me Mr. Ellman be seen by the doctor.
        Under the cruel and unusual punishment clause of the Eighth Ame-
        ndment, proscribes more then physically barbarous punishments;
        the Amendment embodies broad and dealistic concepts of dignity,
        civilzed standards,humanity, and decency, against which penal
        measures must be evaluated ... It is also known that elementary pr-
        inciples of the crual and unusual punishment clause of the eighth
        Amendment establish the governments obligation to provide medical
        care for those whom it is punishing for incarceration ..... NOT
        ONE TIME DID THE BERKS COUNTY JAIL DO THAT FOR ME MR. ELLMAN!!!!!
        Also it is known that at common law, the public is required to
        care for the prisoner, who connot, by reason of the deprivation
        of his liberty, ,.ii· ~.'.,l.'              :>' 1 l•__ J.i."j.\•,
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